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                       THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

DAVID C. MILLS, et al.,                      :
                                             :
                     Plaintiffs,             :
       v.                                    :     3:18-CV-1240
                                             :     (JUDGE MARIANI)
VICTOR SALDANA, et al.,                      :
                                             :
                     Defendants.             :

                                           ORDER

       AND NOW, THIS 15TH DAY OF MAY, 2020, Magistrate Judge Saporito having

reported that the parties have settled the above-captioned action, IT IS HEREBY ORDERED

THAT this action is DISMISSED without costs and without prejudice to the right, upon good

cause shown within sixty (60) days, to reinstate the action if settlement is not consummated.

       Failure of a party to file a motion for reinstatement, or a motion for an extension of time

to consummate the settlement, within the above 60-day time period will result in the automatic

conversion of this dismissal from one without prejudice to one with prejudice.



                                                           _s/ Robert D. Mariani________
                                                           Robert D. Mariani
                                                           United States District Judge
